                UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA


Shauna Williams, et al.
       v.                                   Case Number: 1:23CV1057
Destin Hall, et al.
________________________________________________________________________

North Carolina State Conference of the
NAACP, et al.
       v.                                             Case Number      1:23CV1104
Philip Berger, et al.


                     NOTICE OF CANCELLATION
      Take notice that the above-entitled case set for Initial Pretrial Conference on May

28, 2024, at 11:00 a.m. before Judge Allison Jones Rushing, Chief Judge Richard E. Myers

II, And Judge Thomas D. Schroeder has been CANCELLED.


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John S. Brubaker, Clerk

By: /s/ Anita Engle, Deputy Clerk

Date: May 22, 2024

TO:   All Counsel and/or Parties of Record




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